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 5
                   IN THE UNITED STATES DISTRICT COURT FOR THE
 6
                           EASTERN DISTRICT OF CALIFORNIA
 7
 8   UNITED STATES OF AMERICA,   )               CASE NO. 08-00212
                                 )
 9        Plaintiff,             )
                                 )               STIPULATION AND
10                               )               ORDER
     GURMEET BISLA,              )
11                               )
          Defendant.             )
12   ____________________________)
13         The parties hereto, by and through their respective attorneys, stipulate and
14   agree that because the defense required until March 23, 2009 to file defendant’s
15   motion to suppress evidence, that time for the government to submit any
16   responsive pleadings shall be extended until April 6, 2009.
17         The parties also agree that any delay resulting from this continuance shall
18   be excluded in the interest of justice pursuant to 18 U.S.C. §§3161(h)(1)(F),
19   3161(h)(8)(A) and 3161(h)(8)(B)(I).
20
     DATED: March 23, 2009               /s/ Karen Escobar          __
21                                       KAREN ESCOBAR
                                         Assistant United States Attorney
22                                       This was agreed to by Ms. Escobar
                                         via email on March 18, 2009
23
24   DATED: March 23, 2009               /s/ Roger K. Litman    __
                                         ROGER K. LITMAN
25                                       Attorney for Defendant, GURMEET BISLA
26   SO ORDERED:
27   DATED: March 23, 2009               _/s/ OLIVER W. WANGER
                                         OLIVER W. WANGER
28                                       U.S. DISTRICT COURT JUDGE

                                             1
